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 IX. EVALUATION OF CONSIDERATION FOR RELEASES

 A. REVIEW OF PROPOSED RELEASE OF ESTATE AND THIRD-PARTY CLAIMS
    UNDER NOW-TERMINATED SETTLEMENT AGREEMENT WITH AFI

       The AFI Settlement and Plan Sponsor Agreement proposed to settle all Estate Causes of
 Action and Third-Party Claims against the AFI Released Parties. AFI proposed a cash
 contribution of $750 million (plus other non-cash contributions to the Debtors) to achieve the
 settlement of both Estate Causes of Action and Third-Party Claims.

      Under the AFI Settlement and Plan Sponsor Agreement, the Debtors agreed to include in
 their proposed chapter 11 plan the Debtor Release and a Third-Party Release in favor of the
 AFI Released Parties.1 The Debtors also agreed, pursuant to the AFI Settlement and Plan
 Sponsor Agreement, to include in the confirmation order relating to such plan a provision
 permanently enjoining the commencement or prosecution by any person or entity of any
 causes of action released pursuant to such plan.2

      During the course of the Investigation, the Debtors terminated the AFI Settlement and
 Plan Sponsor Agreement.3 Accordingly, no Debtor Release or Third-Party Release in favor of
 the AFI Released Parties is now before the Bankruptcy Court. However, the parties may well
 contemplate a new settlement between the Debtors and AFI, one which would include a
 release of Claims, including Third-Party Claims, against the AFI Released Parties.4

      To provide some guidance to parties in connection with any potential future settlement,
 the Examiner has reviewed the terms of the AFI Settlement and Plan Sponsor Agreement to
 determine whether a Debtor Release or Third-Party Release would have been warranted based
 on AFI’s proposed contributions as part of that earlier settlement. The Examiner concludes
 that it is unlikely that a court would have found that AFI’s contributions to the Debtors, as
 contemplated under the now-terminated AFI Settlement and Plan Sponsor Agreement,
 supported the proposition that the AFI Released Parties were entitled to the Debtor Release,
 much less a Third-Party Release. Section IX sets forth the rationale for that conclusion.




 1   See AFI Settlement and Plan Sponsor Agreement, § 3.1(d)(ii).
 2   Id.
 3   The Debtors terminated the AFI Settlement and Plan Sponsor Agreement as of February 28, 2013. See Ally
     Financial Inc., Annual Report (Form 10-K) (Mar. 1, 2013), at 17.
 4   AFI has not withdrawn its offer to provide a $750 million cash contribution to the Debtors’ Estates in the
     event that a new settlement is agreed. See Ally Financial Inc., Annual Report (Form 10-K) (May 1, 2013),
     at 11.


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 B. EVALUATION OF CONSIDERATION PROPOSED IN EXCHANGE FOR
    RELEASE OF ESTATE CLAIMS AGAINST AFI

       1. Legal Standard Applicable To Debtors’ Settlement Of Debtors’ Claims Against AFI

       Pursuant to Bankruptcy Rule 9019, a bankruptcy court may “approve a compromise or
 settlement” if the settlement is “fair, equitable, and in the best interests of the estate.”5 In
 considering the settlement’s terms, a bankruptcy court must “canvass the issues and see
 whether the settlement falls below the lowest point in the range of reasonableness.”6 If a
 bankruptcy court correctly concludes that a proposed settlement falls within the range of
 reasonableness and approves the settlement on that basis, that approval will not be reversed on
 appeal even if a better or more favorable settlement was possible.7

      In determining whether the proposed settlement falls within the range of reasonableness,
 a bankruptcy court is not required to conduct a “mini-trial” to decide the individual issues of
 fact and law implicated by a proposed settlement.8 Instead, a bankruptcy court need only
 apprise itself “of those facts that are necessary to enable it to evaluate the settlement and to
 make a considered and independent judgment.”9 “In evaluating the necessary facts, a court
 may rely on the opinion of the debtor, parties to the settlement, and the professionals.”10
 5    Protective Comm. for Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424–25
      (1968); HSBC Bank USA, N.A. v. Fane (In re MF Global Inc.), 466 B.R. 244, 247 (Bankr. S.D.N.Y. 2012);
      Air Line Pilots Assoc. v. Am. Nat’l Bank & Trust Co. of Chi. (In re Ionosphere Clubs, Inc.), 156 B.R. 414, 426
      (S.D.N.Y. 1993).
 6    In re MF Global Inc. 466 B.R. at 247 (citing In re Chemtura Corp., 439 B.R. 561, 594 (Bankr. S.D.N.Y.
      2010); In re Adelphia Commc’ns Corp., 327 B.R. 145, 159 (Bankr. S.D.N.Y. 2005) (quoting In re W.T. Grant
      Co., 699 F.2d 599, 608 (2d Cir. 1983)).
 7    See Newman v. Stein, 464 F.2d 689, 693 (2d Cir. 1972) (“[T]here is a range of reasonableness with respect to
      a settlement—a range which recognizes the uncertainties of law and fact in any particular case and the
      concomitant risks and costs necessarily inherent in taking any litigation to completion—and the judge will not
      be reversed if the appellate court concludes that the settlement lies within that range.”); In re Adelphia
      Commc’ns Corp., 327 B.R. at 159 (citing In re Penn Cent. Transp. Co., 596 F.2d 1102, 1114 (3d Cir. 1979);
      Official Comm. of Unsecured Creditors of Int’l Distrib. Ctrs., Inc. v. James Talcott, Inc. (In re Int’l Distrib.
      Ctrs., Inc.), 103 B.R. 420, 423 (Bankr. S.D.N.Y. 1989)).
 8    In re Adelphia Commc’ns Corp., 327 B.R. at 159 (citing In re Purofied Down Prods. Corp., 150 B.R. 519, 522
      (S.D.N.Y. 1993); In re Int’l Distrib. Ctrs., Inc., 103 B.R. at 423).
 9    In re Adelphia Commc’ns Corp., 327 B.R. at 159 (citing In re Purofied Down Prods. Corp., 150 B.R. at 522;
      In re Energy Coop., Inc., 886 F.2d 921, 924–25 (7th Cir. 1989)).
 10   In re Purofied Down Prods. Corp., 150 B.R. at 522–23; In re Dewey & LeBoeuf LLP, 478 B.R. 627, 641
      (Bankr. S.D.N.Y. 2012) (citing In re Chemtura Corp., 439 B.R. at 594). Of these opinions that may be
      considered, courts generally agree that the business judgment of the debtor recommending the settlement is a
      factor that should be considered. See In re Dewey & LeBoeuf LLP, 478 B.R. at 641; In re MF Global Inc., 466
      B.R. at 247 (noting that “[a]lthough courts have discretion to approve settlements, the business judgment of
      the debtor in recommending the settlement should be factored into the court’s analysis . . . . At the same time,
      a court may not simply defer to a debtor in possession’s judgment, but must independently evaluate the
      reasonableness of the settlement”) (internal citation omitted); JPMorgan Chase Bank, N.A. v. Charter
      Commc’ns Operating LLC (In re Charter Commc’ns), 419 B.R. 221, 252 (Bankr. S.D.N.Y. 2009).

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      In the Second Circuit, bankruptcy courts consider seven factors, known as the Iridium
 factors, in evaluating whether a proposed settlement is fair and equitable for purposes of
 approval pursuant to Bankruptcy Rule 9019:

          •   the balance between the litigation’s possibility of success and the settlement’s future
              benefits;

          •   the likelihood of complex and protracted litigation, with its attendant expense,
              inconvenience, and delay, including the difficulty in collecting on the judgment;

          •   the paramount interests of the creditors, including each affected class’s relative
              benefits and the degree to which creditors either do not object to or affirmatively
              support the proposed settlement;

          •   whether other parties in interest support the settlement;

          •   the competency and experience of counsel supporting, and the experience and
              knowledge of the bankruptcy court judge reviewing, the settlement;

          •   the nature and breadth of releases to be obtained by officers and directors; and

          •   the extent to which the settlement is the product of arm’s-length bargaining.11

       2. Analysis Of Debtors’ Proposed Settlement Of The Estates’ Claims Against AFI

       As discussed in Section I, the Debtors’ Estates may assert claims of not less than $1.31
 billion against AFI that the Examiner concludes are likely to succeed, and additional claims of
 not less than $1.78 billion against AFI that, while, a close question, the Examiner concludes
 are more likely than not to succeed.

       Given AFI’s large potential litigation exposure to the Debtors, the Examiner concludes
 that it is unlikely that a court would have approved a Bankruptcy Rule 9019 settlement of the
 Estate Causes of Action against the AFI Released Parties in exchange for the consideration
 proposed under the now-terminated AFI Settlement and Plan Sponsor Agreement, particularly
 because the settlement set forth in the AFI Settlement and Plan Sponsor Agreement did not
 have the support of any creditor group or party in interest, other than the RMBS Institutional




 11   Motorola, Inc. v. Official Comm. of Unsecured Creditors (In re Iridium Operating LLC), 478 F.3d 452, 462
      (2d Cir. 2007) (citing In re WorldCom, Inc., 347 B.R. 123, 137 (Bankr. S.D.N.Y. 2006); Protective Comm. for
      Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424 (1968); In re Drexel Burnham
      Lambert Grp., Inc., 960 F.2d 285, 292 (2d Cir. 1992) (internal quotations and alterations omitted)). When the
      proposed settlement is one with an insider, such as AFI, the settlement’s terms may be subject to heightened
      level of scrutiny. In re Charter Commc’ns, 419 B.R. at 240–41 (court viewed debtor’s settlement with its
      controlling shareholder “with heightened scrutiny and some skepticism”).

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 Investors.12 As discussed above, two of the Iridium factors (the paramount interests of
 creditors and whether other parties in interest support the settlement) require the Bankruptcy
 Court to take into consideration the amount of support afforded to a proposed settlement.13

                a. AFI’s Non-Cash Contributions To The Debtors’ Estates

       Pursuant to the AFI Settlement and Plan Sponsor Agreement, AFI was to provide the
 Debtors with $750 million and other non-cash contributions as consideration for the
 settlement. In this Section, the Examiner reviews the Debtors’ and AFI’s valuation of certain
 of AFI’s non-cash contributions to the Debtors’ Estates.

      In the AFI Settlement and Plan Sponsor Agreement, AFI had agreed that it would make
 the following contributions to the Debtors:

          •    serve as the stalking horse bidder for the Debtors’ whole loan portfolio, which the
               Debtors asserted provided up to $200 million in additional value;

          •    enter into the Shared Services Agreement with the Debtors;

          •    provide use of AFI cash collateral;

          •    enter into a Transition Services Agreement with the purchaser of the Debtors’
               platform;

          •    provide up to $220 million in financing pursuant to the AFI DIP Financing
               Agreement;

          •    support GMAC Mortgage Group LLC’s retirement plan; and

          •    support the Debtors’ continued origination of mortgage loans, which the Debtors
               valued at approximately $100 million.14

      The Debtors ascribed settlement value of not less than $300 million to AFI’s willingness
 to provide these contributions, attributing, as noted above, $200 million to AFI’s willingness to
 12   Pursuant to the Junior Secured Noteholders’ Plan Support Agreement, the Consenting Junior Secured
      Noteholders agreed to vote to accept, and support confirmation of, a plan that included the Debtor Release and
      a Third-Party Release. See Junior Secured Noteholders’ Plan Support Agreement, § 4.1(f), (g). As discussed in
      Section III.J.5, the Junior Secured Noteholders’ Plan Support Agreement was terminated by the Consenting
      Junior Secured Noteholders on or about September 28, 2012, and they were no longer bound to—and in fact
      ceased to—support the Debtors’ proposed settlement and release of claims against the AFI Released Parties.
 13   While creditors’ views of a settlement are not dispositive, courts consider carefully the reasonable view of
      creditors. See O’Connell v. Packles (In re Hilsen), 404 B.R. 58, 70, 76 (Bankr. E.D.N.Y. 2009) (noting that a
      court “must carefully consider the reasonable views of creditors, but it may also exercise its discretion to
      approve a settlement over the objection of some creditors, a majority of creditors, or even the sole creditor, if
      after weighing all the factors, the settlement falls above the lowest point in the range of reasonableness”)
      (citations omitted).
 14   See AFI Settlement and Plan Sponsor Agreement, § 2.1; see also AFI Submission Paper, dated Dec. 19, 2012,
      at 96–99; Debtors’ Submission Paper, dated Dec. 18, 2012, at 30–39.

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 serve as the stalking horse bidder for the HFS Portfolio and $100 million to AFI’s willingness
 to allow the Debtors to continue originating loans.15 Accordingly, the Examiner has focused on
 the value of these two non-cash contributions. The Examiner’s review of certain other of AFI’s
 non-cash contributions provided to the Debtors is set forth in Section III.J.

                     (1) AFI Support For The Debtors’ Origination And Servicing Of Mortgage
                         Loans

      AFI agreed to allow the Debtors to continue originating (by serving as a broker to Ally
 Bank) and servicing loans during the pendency of the Chapter 11 Cases. AFI attributed
 significant value to this agreement, characterizing it as an unprecedented accomplishment that
 added “substantial” value to the Debtors’ Estates.16 AFI asserted that the Debtors’ ability to
 continue originating and servicing loans during the Chapter 11 Cases resulted in: (1) a sale of
 the Debtors’ servicing platform, servicing rights, and servicing advances for $3 billion; and
 (2) approximately $160 million to $180 million in market-based broker fees paid by Ally
 Bank to the Debtors for loans originated since the bankruptcy filing.17

      The Debtors have been more conservative in ascribing value to AFI’s origination and
 servicing support, describing this contribution as worth approximately $100 million to the
 Debtors.18 In support of this estimate, the Debtors had provided projections for the period of
 May 2012 through March 2013, which included $118 million in origination profit
 ($265 million in broker fees and other revenue less associated expenses).19 According to FTI,
 15   See Dep. of M. Puntus, Nov. 5, 2012, at 42:5–49:4 (stating that AFI “asked for monetary credit for both the
      willingness to originate loans as well as their willingness to be the stalking horse bidder for the whole loan
      portfolio” at a value that was higher than the next higher bidder and noting that AFI wanted $200 million in
      settlement credit for its stalking horse bid); Debtors’ Omnibus Response to Third-Party Submissions, dated
      Dec. 18, 2012, at 29 (asserting continued consumer lending origination support provided approximately $100
      million in value).
 16   AFI Submission Paper, dated Dec. 19, 2012, at 94–95.
 17   Id. at 95.
 18   Debtors’ Submission Paper, dated Dec. 18, 2012, at 31. While the Debtors have focused on AFI’s origination
      support, GMAC Mortgage also benefited from its ability to continue to service the Ally Bank portfolio, which
      permitted GMAC Mortgage to maintain operations at historical levels and may have positively affected the
      Debtors’ ultimate ability to sell their mortgage servicing assets. See Int. of J. Pensabene, Jan. 9, 2013, at
      245:4–12 (“If we lost rights to service one-third of our overall portfolio and . . . even more as it relates to just
      the value of the portfolio then the auction of the business would not have been nearly as successful as it turned
      out to be. The value of the platform would have been diminished dramatically.”). See also Joint Servicing –
      Ally Subservicing Agreement Presentation by Centerview, Morrison Foerster and FTI, dated July 17, 2012, at
      RC00075961 [RC00075960] (“The discontinuation of the subservicing agreement would result in collateral
      damage to the Company’s servicing platform overall, which would influence potential buyers when
      submitting their bids for the business . . . . Rejection of the agreement would also result in distractions in
      transferring approximately 700K loans to Ally Bank’s designated servicer.”).
 19   Projected ResCap Origination P&L [EXAM00219982] (this document includes May 2012 as the first projected
      period and was prepared for the first day hearings in the Chapter 11 Cases). Meeting with Evercore, Financial
      Advisor to AFI, in N.Y., N.Y. (Sept. 6, 2012) (noting that FTI prepared cash flow projections supporting the
      approximately $100 million of value attributed to originations during the prepetition negotiations).

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 however, the actual volume of originations was lower than originally projected.20 In December
 2012, FTI therefore estimated that the continuation of mortgage origination would result in
 profit to the Debtors of only $50 million.21

      AFI also benefited from enabling the Debtors to continue originating loans as a broker to
 Ally Bank, originally projecting earning a profit of $400 million22 from these activities as well
 as generating $100 million in additional MSR assets for Ally Bank.23 AFI subsequently
 calculated Ally Bank’s profit from consumer lending in the postpetition period through
 January 2013 and projected pre-tax profit in a run-off period thereafter totaling $291 million,
 net of broker fees paid to the Debtors of $195 million, as shown in the following exhibit.24
 This amount of broker fees is consistent with FTI’s comments regarding a reduced level of
 originations as compared to the Debtors’ original projections and would imply that the
 Debtors in turn earned a profit of approximately $87 million, using the profit margin from
 FTI’s original analysis.25




 20   FTI asserted that the actual volume of originations for the period of May 2012 through September 2012 was
      lower than projected because of reduced staffing levels at the Debtors and more disruption than anticipated
      from the bankruptcy filing. Origination volume was in-line with projections for October 2012 through
      December 2012. Meeting with FTI, Financial Advisor to the Debtors, via telephone (Dec. 21, 2012).
 21   Meeting with FTI, Financial Advisor to the Debtors, via telephone (Dec. 21, 2012) and Projected ResCap
      Origination P&L [EXAM00219982]. FTI indicated that they were unable to produce an updated schedule of
      origination profit because of personnel departures, E-mail from FTI to Examiner’s Financial Advisors (Apr. 9,
      2013).
 22   Evercore, Kirkland & Ellis and Mayer Brown Project Rodeo Presentation, dated Apr. 23, 2012, at 4
      [CCM00335615].
 23   Id.
 24   Ally Financial Consumer Lending Income Contribution [ALLY_PEO_0089616].
 25   Projected ResCap Origination P&L [EXAM00219982] ($118 million profit / $265 million revenue = 44.5%).


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      AFI asserts that, while no other third party was willing to enter into an arrangement with
 the Debtors to allow continued origination of Mortgage Loans postpetition, the postpetition
 broker agreement was on market terms.26

      Finally, Centerview also acknowledged that Ally Bank profited from the continued loan
 origination. In fact, negotiations with AFI regarding originations started as a stand-alone issue
 that was only later “roped in” to the ResCap/AFI settlement discussions when determining
 how much settlement consideration was provided by AFI.27

      As to the increase in value achieved in the Postpetition Asset Sales, the evidence supports
 the proposition that AFI’s actions supported the Debtors’ continued operation as a going
 concern and thus likely enhanced the value achieved. It is difficult to regard auctions that



 26   See AFI Submission Paper, dated Dec. 19, 2012, at 94 (“Ally entered into a broker agreement with the
      Debtors that calls for Ally to fund the mortgages on market terms—a step that no other third party was willing
      to take.”); Int. of G. Lee, Feb. 20, 2013, at 353:7–14 (“I don’t think that any bankrupt entity is going to be able
      to broker loans to a federally chartered bank anywhere in the world.”).
 27   Meeting with Centerview, Investment Bankers for the Debtors, in N.Y., N.Y. (Jan. 18, 2013). Centerview and
      Houlihan Lokey took the position that continued loan origination was part of a “status quo” scenario without a
      settlement. However, AFI in its prepetition negotiations with ResCap stated it was unwilling to broker loans in
      bankruptcy if settlement value was not assigned. E-mails between J. Strelcova, J. Young, K. Chopra and J. Lewis
      (May 7, 2012) [ALLY_0157778] (discussing AFI settlement value for continued originations in bankruptcy).

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 generated approximately $800 million (or 22%) in incremental value above the stalking horse
 bids and enabled the continued operations of the Debtors’ businesses as anything but a
 success.28

      How much of this success can be attributed to AFI, however, is difficult to quantify.
 Numerous market and competitive factors may also have affected the ultimate purchase price.
 As one example, the Debtors have asserted that the RMBS Institutional Investors had
 significant influence on the Debtors’ ability to sell the Platform Assets,29 and without the
 RMBS Trust Settlement Agreements, the Platform Assets may have sold for less in the
 auction.30

      On balance, the Examiner concludes that the evidence does not support the proposition
 that AFI provided significant settlement value to the Debtors’ Estates in allowing the Debtors
 to continue mortgage origination.

                     (2) Stalking Horse Bid On HFS Portfolio

      AFI asserts that its willingness to serve as the stalking horse bidder for the Debtors’ HFS
 Portfolio provided value of at least $200 million to the Debtors’ Estates by, among other
 things, setting the floor for the bidding to continue at auction.31 However, when AFI first
 requested settlement credit for the extra $200 million that AFI would have paid if the assets
 were sold pursuant to a plan incorporating the Third-Party Release, ResCap debated whether
 such value should be allocated to the settlement.32 Puntus stated that Centerview viewed the
 $200 million settlement credit as “ridiculous” at the time it was first proposed33 and was
 28   As described in Section III.J, as of the Petition Date, the stalking horse bids, which totaled $3.7 billion were
      comprised of a $2.3 billion bid by Fortress in the Platform Sale and a $1.4 billion bid by AFI in the Legacy
      Sale (pursuant to a section 363 sale, or $1.6 billion pursuant to a plan of reorganization). Before the auction,
      the stalking horse bids were modified and increased to $2.4 billion by Fortress in the Platform Sale and $1.45
      billion by Berkshire Hathaway in the Legacy Sale. The ultimate auction resulted in proceeds of $4.5 billion,
      comprised of the Platform Sale to Ocwen and Walter for $3.0 billion and the Legacy Sale to Berkshire
      Hathaway for $1.5 billion. Sales Procedure Motion, ¶ 6; Nationstar Mortgage LLC, Current Report (Form 8-
      K) (July 5, 2012), at Item 1.01; Order Approving Sale Procedures, at 4; Third AFI DIP Order, at 2–3.
 29   See Int. of G. Lee, Feb. 20, 2013, at 122:12-20 (“…we had been thinking about how to achieve the sale of a
      live platform. And we were very conscious of the fact that the parties that would have perhaps, after AFI, the
      most influence on our ability to do so would be the investors who control the trustees.”), 152:11-21 (“I mean,
      the reality is, if the investors directed the trustees to say, ‘We want you to take back the trusts’ or, ‘we don’t
      like this servicer,’ I mean, her group, because they control the trust to a sufficient extent, could kill a sale, full
      stop.”); see also Int. of J. Ilany, Nov. 28, 2012, at 173:19-24 (“How much of this $3 billion is that it is [an]
      operating company and it inures to the agreement with [AFI] and how much inures to the fact that [the
      platform’s] inoculated? Sir, this is really–you divvy it up.”).
 30   See also Int. of J. Ilany, Nov. 28, 2012, at 173:6-24 (“… I believe that without getting a release from the
      trustees, this transaction is not closing. If anybody thinks that this transaction[ ] closes on January 31st
      without a release from trustees, people are in for tears. It’s not closing because nobody’s buying….”).
 31   See AFI Submission Paper, dated Dec. 19, 2012, at 94.
 32   See Dep. of M. Puntus, Nov. 5, 2012, at 123:6–14.
 33   Meeting with Centerview, Investment Bankers for the Debtors, in N.Y., N.Y. (Jan. 18, 2013).

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 “skeptical as to whether that did or did not actually constitute settlement value.”34 Rather than
 spend a lot of time disputing the issue with AFI, according to Puntus, Centerview “said, okay,
 you call it what you want, I think it was referenced as settlement value; and then as the case
 proceeds, we will see whether it’s settlement value or sale value.”35 In other words,
 Centerview’s opinion was that if AFI were overbid during the auction, the $200 million had
 no settlement value but more accurately reflected the assets’ actual value.36

      AFI was concerned that ResCap would not confirm settlement credit of $200 million if
 AFI was overbid.37 ResCap was concerned about losing AFI’s bid, so it agreed in the AFI
 Settlement and Plan Sponsor Agreement to give AFI the settlement credit even if it was
 overbid.38 ResCap believed that, in any case, the allocation of $200 million to the settlement
 credit would ultimately be decided by a judge.39

      The Examiner concludes that the evidence does not support the proposition that AFI
 should be credited with any settlement value for its willingness to serve as the stalking horse
 bidder in the sale of the HFS Portfolio.

                     (3) Examiner’s Conclusion Concerning The Value Of AFI’s Non-Cash
                         Contributions

      While the Debtors previously had attributed, and AFI continues to attribute, significant
 value to AFI’s participation and contributions in the Chapter 11 Cases, the Examiner
 concludes that the evidence does not support the proposition that significant settlement value
 should have been ascribed to AFI’s non-cash contributions in connection with the now-
 terminated AFI Settlement and Plan Sponsor Agreement.



 34   See Dep. of M. Puntus, Nov. 5, 2012, at 42:5–13.
 35   See id. at 47:16–20.
 36   Meeting with Centerview, Investment Bankers for the Debtors, in N.Y., N.Y. (Jan. 18, 2013). Puntus noted
      that, in light of how the auction transpired, it was hard to say at that point that the $200 million had any
      settlement value. Id. As of August 16, 2012, in the then most recent waterfall analysis provided by the
      Debtors, FTI assumed an AFI settlement contribution of only $850 million, which consisted of $750 million
      in cash and $100 million in origination support. FTI Hypothetical Waterfall Analysis Presentation, dated
      Aug. 16, 2012, at 4 [EXAM00176577]. The Examiner believes AFI’s bid on the HFS Portfolio was not given
      any settlement value in this FTI waterfall analysis because AFI was no longer serving as the stalking horse
      bidder. See also Dep. of T. Marano, Nov. 12, 2012, at 254:6-255:10 (when presented with an e-mail noting
      that AFI’s settlement contribution was “750 plus 200 plus 100,” Marano could not recall “what the 200 was
      for,” (although he recalled that $100 million related to the value of AFI’s enabling the Debtors “to originate
      through bankruptcy”)).
 37   E-mail from L. Tessler to J. Ilany (Apr. 28, 2012) [EXAM11114982] (AFI bid on HFS Portfolio).
 38   E-mail from J. Ilany to J. Tanenbaum and T. Marano (Apr. 28, 2012) [EXAM11114982] (AFI bid on HFS
      Portfolio).
 39   E-mail from T. Marano to J. Ilany (Apr. 29, 2012) [EXAM11114982] (AFI bid on HFS Portfolio).


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 C. EVALUATION OF CONSIDERATION PROPOSED IN EXCHANGE FOR
    RELEASE OF THIRD-PARTY CLAIMS AGAINST AFI

      As discussed in the next Section, the threshold for obtaining third-party releases in the
 Second Circuit is extremely high and, absent the consent of all or substantially all creditors,
 very difficult to obtain. The Second Circuit has admonished that such releases should be
 granted only rarely and only in “unique” circumstances.40 The Examiner concludes that the
 evidence does not support the proposition that those unique circumstances existed to justify a
 Third-Party Release in favor of AFI under the terms proposed by the AFI Settlement and Plan
 Sponsor Agreement.

      Given the high threshold for obtaining non-consensual third-party releases in the Second
 Circuit, it would be extremely difficult to craft a confirmable Plan that includes a non-
 consensual Third-Party Release absent a negotiated consensual settlement encompassing all,
 or substantially all, of the claims held by third parties.

       1. Legal Standard Applicable To The Release Of Third Parties’ Claims Against AFI

      Third-party releases and injunctions are neither explicitly permitted nor prohibited by the
 Bankruptcy Code. Bankruptcy Code section 524(e) provides that the “discharge of a debt of
 the debtor does not affect the liability of any other entity on, or the property of any other entity
 for, such debt.”41 The circuit courts are split as to section 524(e)’s effect, if any, on a
 bankruptcy court’s authority to release the liability of non-debtors. The Fifth, Ninth, and Tenth
 Circuits limit the propriety of non-consensual third-party non-debtor releases to the asbestos
 context under Bankruptcy Code section 524(g), and to committee members for their work
 performed pursuant to Bankruptcy Code section 1103(c).42 The Second, Third, Fourth, Sixth,




 40   Deutsche Bank AG v. MetroMedia Fiber Network, Inc. (In re Metromedia Fiber Network, Inc.), 416 F.3d 136,
      141–42 (2d Cir. 2005).
 41   11 U.S.C. § 524(e).
 42   See, e.g., Bank of N.Y. Trust Co. v. Official Unsecured Creditors Comm. (In re Pac. Lumber Co.), 584 F.3d
      229, 252 (5th Cir. 2009); Resorts Int’l v. Lowenschuss (In re Lowenschuss), 67 F.3d 1394, 1401 (9th Cir.
      1995); Landsing Diversified Props.-II v. First Nat’l Bank & Trust Co. (In re W. Real Estate Fund, Inc.), 922
      F.2d 592, 600 (10th Cir. 1990), modified by Abel v. West, 932 F.2d 898 (10th Cir. 1991).

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 and Seventh Circuits permit third-party non-debtor releases in limited circumstances.43 The
 circumstances in which third-party, non-debtor releases have been granted are nuanced and, in
 the Second Circuit, proponents of such releases must demonstrate that “truly unusual”
 circumstances warrant such relief.44

      Given that the Bankruptcy Code does not expressly authorize bankruptcy courts to
 release third-party claims against non-debtors, a review of a bankruptcy court’s jurisdiction
 provides a good framework in which to consider the scope of the Bankruptcy Court’s
 authority to rule on third-party claims. The next section provides an overview of Congress’s
 grant of jurisdiction to bankruptcy courts.

                a. Overview Of A Bankruptcy Court’s Jurisdiction And Authority To Enjoin
                   Claims Against Non-Debtor Third Parties

      Consideration of a bankruptcy court’s subject matter jurisdiction begins with 28 U.S.C.
 § 1334. District courts are granted original “and exclusive” jurisdiction over bankruptcy
 cases.45 As to all other civil proceedings “arising under,” “arising in,” or “related to” a case
 under title 11, district courts are granted original “but not exclusive” jurisdiction.46 The district
 courts may refer these bankruptcy-related proceedings to bankruptcy courts pursuant to 28


 43   See, e.g., Behrmann v. Nat’l Heritage Found., 663 F.3d 704, 712 (4th Cir. 2011) (noting that approval of non-
      debtor releases “should be granted cautiously and infrequently”); In re Ingersoll, Inc., 562 F.3d 856, 865 (7th
      Cir. 2009) (upholding third-party non-debtor release included in plan as “narrowly tailored and critical to the
      plan as a whole”); Johns-Manville Corp. v. Chubb Indem. Ins. Co. (In re Johns-Manville, Corp.) (Manville II),
      517 F.3d 52, 66 (2d Cir. 2008), rev’d on other grounds and remanded sub nom. Travelers Indem. Co. v.
      Bailey, 557 U.S. 137 (2009); Airadigm Comm. v. FCC (In re Airadigm Comm., Inc.), 519 F.3d 640, 657 (7th
      Cir. 2008) (Bankruptcy Code sections 105 and 1123(b)(6) give bankruptcy courts “residual authority” to
      approve non-consensual releases but whether a particular release is “appropriate” is “fact intensive and
      depends on the nature of the reorganization.”); In re Metromedia Fiber Network, Inc., 416 F.3d at 142–43;
      Class Five Nev. Claimants v. Dow Corning Corp. (In re Dow Corning Corp.), 280 F.3d 648, 658 (6th Cir.
      2002) (holding that non-consenting creditors’ claims could be enjoined against a non-debtor when seven
      factors were present); Gillman v. Continental Airlines (In re Continental Airlines, Inc.), 203 F.3d 203, 214 (3d
      Cir. 2000) (while the court of appeals did not establish a rule regarding the conditions that would justify or
      permit a non-debtor release or injunction, it noted that the “hallmarks of permissible non-consensual releases”
      were fairness, necessity to the reorganization and specific factual findings to support these conclusions);
      Menard-Sanford v. Mabey (In re A.H. Robins Co.), 880 F.2d 694, 702 (4th Cir. 1989) (approving permanent
      injunction against thousands of direct claims for birth control devices which protected among others insurer,
      present and former officers and directors and certain attorneys, based in part upon payments made by some of
      them and in part upon some of them holding indemnification rights against the debtors); In re Wash. Mut.,
      Inc., 442 B.R. 314, 352 (Bankr. D. Del. 2011) (noting that any release of a non-debtor “must be based on
      consent of the releasing party (by contract or the mechanism of voting in favor of the plan)”).
 44   In re Metromedia Fiber Network, Inc., 416 F.3d at 143 (2d Cir. 2005); Kenton Cnty. Bondholders Comm. v.
      Delta Airlines, Inc. (In re Delta Air Lines, Inc.), 374 B.R. 516, 525-26 (S.D.N.Y. 2007); In re Spiegel Inc.,
      No. 03-11540, 2006 WL 2577825, at *7 (Bankr. S.D.N.Y. Aug. 16, 2006).
 45   28 U.S.C. § 1334(a) (2012).
 46   28 U.S.C. § 1334(b).

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 U.S.C. § 157(a).47 The statutory language supports a broad grant of jurisdiction to bankruptcy
 courts,48 but the jurisdiction conferred is not intended to be “limitless.”49

       Depending on the circumstances, a bankruptcy court’s jurisdiction may extend to
 litigation between two non-debtors pursuant to the “related to” jurisdiction granted it by
 Congress.50 Like other circuits, the Second Circuit has adopted an expansive interpretation of
 “related to” jurisdiction, holding that the test for determining whether a bankruptcy court has
 jurisdiction over litigation is “whether its outcome might have any ‘conceivable effect’ on the
 bankrupt estate.”51 In considering whether a court has jurisdiction to approve a third-party
 release, the Second Circuit has articulated this test slightly differently, holding that a
 bankruptcy court has jurisdiction to enjoin third-party claims against non-debtors if those
 claims directly affect the property of the bankruptcy estate.52

      Before 2008, most courts in the Second Circuit considered whether they had jurisdiction
 to approve third-party releases pursuant to a somewhat perfunctory “shared or common facts”
 analysis that found jurisdiction if the claims to be released could be said to have some
 47   The District Court for the Southern District of New York refers all cases arising under title 11 to the
      bankruptcy court in this district pursuant to its Amended Standing Order of Reference, 12 Misc. 00032
      (S.D.N.Y. Jan. 31, 2012). See In re FairPoint Commc’ns, Inc., 452 B.R. 21, 27 (S.D.N.Y. 2011).
 48   See Celotex Corp. v. Edwards, 514 U.S. 300 (1995). In Celotex, the Supreme Court noted that Congress’s
      choice of words in section 1334(b) of the Bankruptcy Code suggested the grant of jurisdiction was “of some
      breadth.” Id. at 308. Section 1334(b)’s grant of jurisdiction was distinctly different from that conferred under
      prior Acts, which had limited the basis for jurisdiction to either possession of property by the debtor or
      consent. Id. (citing S. Rep. No. 95-989, 2nd Sess., at 153, 154 (1978), reprinted in 1978 U.S.C.C.A.N. 5787,
      5939, 5940).
 49   See id. (citing Pacor, Inc. v. Higgins, 743 F.2d 984, 994 (3d Cir. 1984)). In Pacor, John and Louise Higgins
      filed a lawsuit in state court against Pacor, a chemical supplies distributor, alleging injuries caused by
      exposure to asbestos contained in Pacor’s products. Pacor filed a third-party complaint impleading Johns-
      Manville, the initial asbestos manufacturer. After Johns-Manville filed for bankruptcy, the Higgins sought to
      remove their lawsuit to the related bankruptcy court. The bankruptcy denied removal. The Third Circuit
      affirmed, concluding that “related to” jurisdiction did not extend to the state court lawsuit because the lawsuit
      was, at best, “a mere precursor to the potential third-party claim for indemnification by [defendant] against
      [the debtor].” Pacor v. Higgins, 743 F.2d at 995. Because Johns-Manville could not be bound automatically
      by the Higgins-Pacor lawsuit, it was not “related to” debtor Johns-Manville’s bankruptcy case.
 50   Celotex v. Edwards, 514 U.S. at 308 n.5 (“Proceedings ‘related to’ the bankruptcy include (1) causes of action
      owned by the debtor which become property of the estate pursuant to 11 U.S.C. § 541, and (2) suits between
      third parties which have an effect on the bankruptcy estate.”).
 51   Pfizer Inc. v. Law Offices of Peter G. Angelos (In re Quigley Co.), 676 F.3d 45, 57 (2d Cir. 2012) (“the
      touchstone for bankruptcy jurisdiction remains ‘whether its outcome might have any “conceivable effect” on
      that bankruptcy estate.’” (citing In re Cuyhoga Equip. Corp., 980 F.2d 110, 114 (2d. Cir. 1992)). The test for
      determining whether the court has bankruptcy jurisdiction has also been described as “an inquiry whether the
      third-party action has ‘a significant connection’ with the bankruptcy case in question.” In re Quigley Co., 676
      F.3d at 57 (citing Turner v. Ermiger (In re Turner), 724 F.2d 338, 341 (2d Cir. 1983)).
 52   See In re Quigley Co., 676 F.3d at 56 (citing Johns-Manville Corp. v. Chubb Indem. Ins. Co. (In re Johns-
      Manville, Corp.) (Manville II), 517 F.3d 52, 66 (2d Cir. 2008), rev’d on other grounds and remanded sub
      nom. Travelers Indem. Co. v. Bailey, 557 U.S. 137 (2009)).

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 conceivable effect on the bankruptcy estate or if the claims simply shared facts in common
 with the third party’s relationship with the debtor.53 After quickly dispatching with this
 jurisdictional issue, if addressing it at all,54 courts concentrated on whether the circumstances
 of the case justified the granting of an injunction in favor of third parties.55 However, in 2008
 the Second Circuit made it explicit that courts must consider carefully whether they have
 jurisdiction to approve third-party releases and that this jurisdictional evaluation turns on
 whether the claims to be enjoined would have a direct effect on the bankruptcy estate.56 That
 claims indirectly affect the estate or arise out of facts relating to the third party’s relationship
 with the debtor is not enough to give bankruptcy courts jurisdiction to release and enjoin such
 claims.57


 53   In 1988 the Second Circuit did address at some length the scope of the court’s jurisdiction over third-party
      claims. See MacArthur Co. v. Johns-Manville Corp. (In re Johns-Manville Corp.) (Manville I), 837 F.2d 89
      (2d Cir. 1988). The cases following, however, did not. See supra text accompanying note 54.
 54   The two Second Circuit decisions before Manville II addressing third-party claims did not discuss subject
      matter jurisdiction at all. See In Deutsche Bank AG v. MetroMedia Fiber Network, Inc. (In re Metromedia
      Fiber Network, Inc.), 416 F.3d 136 (2d Cir. 2005); SEC v. Drexel Burnham Lambert Grp. (In re Drexel
      Burnham Lambert Grp.), 960 F.2d 285 (2d Cir. 1992). See also JPMorgan Chase Bank, N.A. v. Charter
      Commc’ns Operating LLC (In re Charter Commc’ns), 419 B.R. 221, 258 (Bankr. S.D.N.Y. 2009) (no
      reference to subject matter jurisdiction). The Examiner notes these courts’ lack of discussion regarding subject
      matter jurisdiction not to suggest that the courts inappropriately exercised jurisdiction but rather to highlight
      the shift in 2008 in the Second Circuit’s approach to analyzing whether to approve third-party releases.
 55   See, e.g., Kenton Cnty. Bondholders Comm. v. Delta Airlines, Inc. (In re Delta Air Lines, Inc.), 374 B.R. 516,
      525–26 (S.D.N.Y. 2007) (in dismissing an argument that bankruptcy court lacked jurisdiction or power to
      approve releases of claims against non-debtors, the district court noted that the releases at issue were of the
      kind listed as acceptable by Metromedia, 416 F.3d at 142, and cited to Drexel, 960 F.2d at 293, for the
      proposition that a court may approve the release of claims against third parties where the releases play an
      “important part” in a debtor’s reorganization plan); Cartalemi v. Karta Corp. (In re Karta Corp.), 342 B.R.
      45, 53–57 (S.D.N.Y. 2006) (holding that the claims to be enjoined against the non-debtor third parties were of
      the type permissible under Metromedia and Drexel given the unique circumstances present, the importance of
      the releases to the plan, and other factors. The court did note that the specific language of the release needed
      to be modified so as not to apply to claims that had nothing to do with the debtor’s business, focusing on the
      facts giving rise to the proposed enjoined claims rather than the effect of the claims on the estate, if
      successful); In re Spiegel Inc., No. 03-11540, 2006 WL 2577825, at *7 (Bankr. S.D.N.Y. Aug. 16, 2006)
      (noting that the court has the power to enjoin claims against non-debtor third parties where the actions have
      “at least a conceivable effect upon the Debtors or implicate the interpretation or enforcement of this Court’s
      orders.” (citing LTV Corp. v. Back (In re Chateaugay Corp.), 201 B.R. 48, 66 (Bankr. S.D.N.Y. 1996)), and
      reviewing whether the proposed third-party non-debtor release was warranted under the Metromedia analysis);
      Rosenberg v. XO Commc’ns, Inc. (In re XO Commc’ns, Inc.), 330 B.R. 394, 440 (Bankr. S.D.N.Y. 2005)
      (finding that the substantial consideration provided by the lenders, the identity of interest present as a result of
      the indemnification/contribution exposure of the debtor and the necessity of satisfying a plan condition that
      certain litigation be resolved all supported the conclusion that the unique circumstances necessary under
      Metromedia for allowing non-debtor releases were present with respect to breach of fiduciary type actions).
 56   Johns-Manville Corp. v. Chubb Indem. Ins. Co. (In re Johns-Manville, Corp.) (Manville II), 517 F.3d 52 (2d
      Cir. 2008), rev’d on other grounds and remanded sub nom. Travelers Indem. Co. v. Bailey, 557 U.S. 137
      (2009).
 57   Id. at 66.

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       Accordingly, before releasing claims against non-debtors, a bankruptcy court must first
 confirm that it has subject matter jurisdiction over the claims that would be subject to the
 requested injunction and release, which jurisdiction will exist only if the court determines that
 the claims would, if not enjoined or released, directly affect the property of the bankruptcy
 estate.58 If a bankruptcy court determines it has subject matter jurisdiction, it must then
 consider whether the circumstances warrant approval of an injunction, with the understanding
 that circumstances sufficiently unique to justify such relief will occur only rarely.59
      While the analysis to be undertaken by courts can be summed up simply, its
 implementation is complex. As noted by the Bankruptcy Court in this case, third-party
 releases raise many difficult legal and factual issues.60 The next Section reviews the evolution
 of the Second Circuit’s analysis regarding when third-party releases are appropriate.
                 b. The Evolution Of The Second Circuit’s View Of The Propriety Of Third-Party
                    Non-Debtor Releases
                      (1) Manville I61—1988
      In 1988, the Court of Appeals for the Second Circuit considered whether a bankruptcy
 court had authority to enjoin third-party actions against a debtor’s insurers, which, in essence,
 58   Id. Courts considering the appropriateness of third-party non-debtor releases after the Second Circuit’s 2008
      decision have undertaken a careful analysis of whether they have subject matter jurisdiction over the claims to
      be released and/or enjoined. See In re Dreier LLP, 429 B.R. 112, 131–32 (Bankr. S.D.N.Y. 2010) (court must
      decide whether it has subject matter jurisdiction before determining whether the proponent of an injunction
      has demonstrated unusual circumstances to justify it); Pfizer Inc. v. Law Offices of Peter G. Angelos (In re
      Quigley Co.), 676 F.3d 45, 56 (2d Cir. 2012) (bankruptcy court jurisdiction is appropriate over “third-party
      non-debtor claims that directly affect the res of the bankruptcy estate”) (citing Manville II, 517 F.3d at 66); In
      re FairPoint Commc’ns, Inc., 452 B.R. at 27–30 (confirming bankruptcy court had subject matter jurisdiction
      to approve third-party injunction included in plan and that sufficient circumstances existed to justify such
      injunction).
 59   In re Metromedia Fiber Network, Inc., 416 F.3d at 141–42.
 60   Memorandum Opinion and Order Granting Berkshire Hathaway’s Motion to Appoint an Examiner Under 11
      U.S.C. §1104(c) [Docket. No. 454] at n.10 (citing Johns-Manville Corp. v. Chubb Indem. Ins. Co. (In re
      Johns-Manville Corp.) (Manville III), 600 F.3d 135 (2d Cir. 2010) (adhering to jurisdictional limitation for
      approving third-party non-debtor releases); Manville II, 517 F.3d at 66 (finding that a bankruptcy court “only
      has jurisdiction to enjoin third-party non-debtor claims that directly affect the res of the bankruptcy estate”);
      In re Metromedia Fiber Network, Inc., 416 F.3d at 141 (“[A] nondebtor release is a device that lends itself to
      abuse. By it, a nondebtor can shield itself from liability to third parties. In form, it is a release; in effect, it may
      operate as a bankruptcy discharge arranged without a filing and without the safeguards of the Code. The
      potential for abuse is heightened when releases afford blanket immunity.”); In re Metcalfe & Mansfield Alt.
      Invs., 421 B.R. 685, 695–96 (Bankr. S.D.N.Y. 2010); In re Dreier, 429 B.R. at 132 (finding that before a court
      can even decide if the “unusual circumstances” standard delineated in Metromedia is met, it must first
      determine whether it has subject matter jurisdiction under Manville)). See also In re The 1031 Tax Grp., LLC,
      397 B.R. 670, 687 (Bankr. S.D.N.Y. 2008) (“Cases make clear that the bankruptcy courts in this Circuit have
      very limited power to approve settlements or chapter 11 plans containing permanent or channeling injunction
      in favor of non-debtors.”) (citing cases).
 61   MacArthur Co. v. Johns-Manville Corp. (In re Johns-Manville Corp.) (Manville I), 837 F.2d 89 (2d Cir.
      1988).

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 operated as a discharge of claims against those non-debtor parties.62 Before it filed for
 bankruptcy, the debtor Johns-Manville Corporation (“Manville”) was one of the largest
 manufacturers and distributors of asbestos products in the United States. As a result, Manville
 was faced with the possibility of lawsuits by many thousands of asbestos victims, with
 potential liability of more than $2 billion.63 When it filed for bankruptcy, Manville was
 engaged in litigation with its insurance carriers regarding their coverage of these asbestos-
 related claims. During the course of its bankruptcy case, Manville agreed to settle these
 insurance claims with its insurers for approximately $770 million.64 The insurance settlements
 provided that the insurers would be released of all obligations relating to the relevant
 insurance policies and would also receive the benefit of injunctions which barred third-party
 claims against them based on the insurers’ obligations under the insurance policies. The third-
 party claims were instead channeled to a “Manville Personal Injury Settlement Trust” (the
 “Manville Trust”), which was funded with the insurers’ $770 million settlement payment. The
 Manville Trust funds were to be used to satisfy asbestos claims against Manville, whether
 asserted against Manville at the time of the bankruptcy or thereafter by persons who had not
 yet manifested symptoms of asbestos-related illnesses.

      Manville’s settlements with its insurers were approved pursuant to two orders—the
 “Insurance Settlement Order” and the “Manville Confirmation Order.” These orders enjoined
 all persons from commencing and/or continuing any suit, arbitration or other proceeding of
 any type or nature for “policy claims” against any or all members of the settling insurer
 group.65 The insurers were to have no further duties or obligations based upon, arising out of
 or related to the policies and were thereafter released from any and all insurance policy
 claims.66 The policy claims included any and all claims (whether or not presently known)
 which could be asserted by any person against any of the settling insurers “based upon, arising
 out of or relating to” any or all of the policies.67 The Insurance Settlement Order was
 incorporated by reference into the Manville Confirmation Order.

      MacArthur Company (“MacArthur”), a distributor of Manville’s asbestos products,
 objected to the injunctions in the Insurance Settlement Order and Manville Confirmation
 Order, arguing that they impaired MacArthur’s contractual right to coverage pursuant to
 “vendor endorsements”68 that had been added to the insurance policies subject to the

 62   See id.
 63   Id. at 90.
 64   Id. In confirming Manville’s chapter 11 plan, the bankruptcy court found that the present asbestos claimants
      would receive 100% on their claims under the plan. Kane v. Johns-Manville Corp., 843 F.2d 636, 649 (2d Cir.
      1988). 95.8% of the present health asbestos claims voted in favor of the plan. Id. at 641.
 65   In re Johns-Manville Corp., 2004 WL 1876046, at *15 ¶ 61 (Bankr. S.D.N.Y. Aug. 17, 2004).
 66   Id.
 67   Id. at *15 ¶ 62.
 68   Vendor endorsements entitled distributors to insurance coverage for liability that resulted from the vendor’s
      sale of Manville products. Manville I, 837 F.2d at 90.

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 settlements. The bankruptcy court overruled MacArthur’s objections, asserting that
 MacArthur’s “interest in the policies is highly speculative.”69 The district court affirmed and
 MacArthur appealed to the Court of Appeals for the Second Circuit.
      MacArthur’s principal argument on appeal was that the bankruptcy court lacked
 jurisdiction and authority to enjoin claims against the debtor’s insurers, and the injunction was
 a “de facto discharge” of non-debtor party liability.70 The Second Circuit overruled the
 objection, noting that it is “well established” that a bankruptcy court has jurisdiction over
 property of a debtor’s estate, and the insurance policies were property of the estate.71 In
 rejecting MacArthur’s “de facto discharge” argument, the Second Circuit noted that “the
 injunction orders do not offer the umbrella protection of a discharge in bankruptcy. Rather,
 they preclude only those suits against the settling insurers that arise out of or relate to
 Manville’s insurance policies.72
      The court of appeals then noted that: (1) MacArthur’s rights in the insurance policies
 under the vendor endorsements were derivative of Manville’s rights; and (2) MacArthur’s
 claims sought to recover against the insurance policies based on Manville’s conduct.73 With
 these findings, the court of appeals held that the bankruptcy court had authority to enjoin
 actions that threatened or diminished the insurance policies and to channel those claims to the
 proceeds of the Manville Trust.74
                       (2) Drexel Burnham75—1992
      Four years later, the Second Circuit was again called upon to review the appropriateness
 of a third-party plan injunction in the bankruptcy case of Drexel Burnham Lambert Group.76
 Before Drexel filed for bankruptcy protection, the SEC commenced a lawsuit against Drexel,
 alleging that Drexel had violated federal law in securities transactions.77 Drexel and the SEC
 ultimately agreed to settle the lawsuit and, as part of the settlement, Drexel created a $350
 million fund (the “SEC Fund”) for the benefit of the victims of Drexel’s illegal transactions in
 “junk bonds.”78 Drexel paid $200 million into the SEC Fund, but then filed a petition for
 69   Id. at 91.
 70   Id.
 71   Id. at 90.
 72   Id. at 91. As discussed below, in Manville II, the court of appeals focused on the limits of the bankruptcy
      court’s subject matter jurisdiction and stressed that such jurisdiction was limited to third-party actions that
      affected the estate property. While there has been some commentary suggesting that Manville II departed from
      prior Second Circuit decisions addressing third-party releases, Manville II’s focus on the bankruptcy court’s in
      rem jurisdiction is consistent with the Second Circuit’s analysis in Manville I.
 73   Id. at 92–93.
 74   Id. at 93.
 75   SEC v. Drexel Burnham Lambert Grp. (In re Drexel Burnham Lambert Grp.), 960 F.2d 285 (2d Cir. 1992).
 76   Id.
 77   Id. at 287–88.
 78   Id. at 288.

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 bankruptcy relief under chapter 11 before paying the final $150 million it owed. The SEC
 promptly filed a claim for $150 million in Drexel’s bankruptcy case. Many other parties filed
 claims as well, resulting in 850 proofs of claim based on Drexel’s actions in buying, selling,
 and underwriting securities (the “Securities Claims”).79

      In an attempt to facilitate settlement, the Securities Claims were withdrawn from the
 bankruptcy court and a “Securities Litigation Claimants Group” was formed. The claimants
 and Drexel negotiated and ultimately reached a settlement that, among other things, required
 that the 850 securities claimants be certified as a mandatory, non-opt-out class that was
 divided into two subclasses.80 Subclass A mainly included several failed banks being
 administered by the FDIC or the Resolution Trust Corporation and claimants asserting
 derivative suits against Drexel. Subclass B consisted of claimants whose actions against
 Drexel had been consolidated by the Panel on Multidistrict Litigation.81

       For its part, Drexel was required to pay the $150 million it still owed to the SEC Fund.
 The fund’s entire $350 million was then divided into two subclasses—A and B—for
 distribution to the two subclasses of claimants. Subclass A was to receive 75% of the SEC
 Fund. Subclass B was to receive 25% of the SEC Fund. Drexel’s remaining assets were also to
 be divided between the subclasses in the same 75%–25% ratio. Finally, Drexel agreed to pool
 any recoveries from lawsuits against its former officers and directors with subclass A.
 However, members of subclass B were not entitled to share in these recoveries and were
 enjoined from bringing any future lawsuits against the former officers and directors82 (these
 lawsuits were eventually settled and provided for a total pooled recovery of $1.3 billion).

      The district court found that the proposed settlement was fair and approved its terms over
 objections filed by only eight of the proposed 850 class members. Three of the class members
 appealed, arguing among other things that the settlement provisions that entitled subclass A to
 receive all of the pooled recoveries from the lawsuit against Drexel’s directors and officers
 and enjoined the subclass B members from pursuing actions against the same directors and
 officers, should have been stricken.83




 79   Id.
 80   Id.
 81   Id.
 82   Id. at 289.
 83   Id. at 293.

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     In affirming the district court’s findings on appeal, the Second Circuit dismissed the
 appellants’ challenge to the injunction, stating:

                    In bankruptcy cases, a court may enjoin a creditor from suing a
                    third-party, provided the injunction plays an important part in a
                    debtor’s reorganization plan. See In re: A.H. Robins Co., 880
                    F.2d 694, 701 (4th Cir.) . . . . The Settlement Agreement is
                    unquestionably an essential element of Drexel’s ultimate
                    reorganization. In turn, the injunction is a key component of the
                    Settlement Agreement. As the district court noted, the injunction
                    limits the number of lawsuits that may be brought against
                    Drexel’s former directors and officers. This enables the directors
                    and officers to settle these suits without fear that future suits will
                    be filed. Without the injunction, the directors and officers would
                    be less likely to settle. Thus, we hold that the district court did
                    not abuse its discretion in approving the injunction.84

      How to determine whether an injunction was sufficiently “important” was not discussed
 by the court of appeals, giving lower courts great leeway in approving third-party releases, so
 long as parties could make a case that such release was “important” or “essential” to the
 debtor’s plan.

                    (3) Metromedia Fiber Network, Inc.85—2005

      The Second Circuit revisited the issue of third-party releases in 2005 in the Metromedia
 Fiber Network, Inc. bankruptcy cases. The Metromedia debtors were part of the large
 conglomerate Metromedia Company, which was owned by John Kluge. As part of the plan of
 reorganization, Kluge and certain other “insiders” were released from all claims relating to
 Metromedia. The release, referred to in the plan as the “Kluge Comprehensive Release,”
 provided that a trust established by Kluge and other insiders:

                    shall receive a full and complete release, waiver and discharge
                    from . . . any holder of a claim of any nature . . . of any and all
                    claims, obligations, rights, causes of action and liabilities arising
                    out of or in connection with any matter related to [Metromedia]
                    or one or more subsidiaries . . . based in whole or in part upon
                    any act or omission or transaction taking place on or before the
                    Effective Date.86



 84   Id.
 85   Deutsche Bank AG v. Metromedia Fiber Network, Inc. (In re Metromedia Fiber Network, Inc.), 416 F.3d 136
      (2d Cir. 2005).
 86   Id. at 141.

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      In exchange for this release, Kluge agreed that his trust would: (1) forgive approximately
 $150 million in unsecured claims it held against the estate; (2) convert $15.7 million in senior
 secured claims to equity in AboveNet, Inc. (the reorganized entity); (3) invest approximately
 $12.1 million in AboveNet; and (4) agree to backstop the purchase of up to $25 million of
 common stock in AboveNet’s planned stock offering.87 Subordinated noteholders objected to
 the plan of reorganization, arguing that the Kluge Comprehensive Release and two other
 releases in favor of certain non-debtors were not authorized by the Bankruptcy Code.88 The
 bankruptcy court overruled the noteholders’ objections to the plan, and its decision was
 affirmed by the district court. The noteholders appealed to the Second Circuit, arguing that the
 releases were unauthorized by the Bankruptcy Code.

       Reviewing its decision in the Drexel case, the court of appeals acknowledged that none of its
 prior decisions explained when a release of a non-debtor is “important” to a debtor’s plan, but
 asserted that “such release [would be] proper only in rare cases.”89 The court of appeals expressed
 a “reluctance” to approve third-party releases, stating first that the only explicit authorization for
 non-debtor releases is section 524(g) of the Bankruptcy Code, which authorizes releases only in
 asbestos cases and even there only when specified conditions are met, including the creation of a
 trust to satisfy future claims.90 The court of appeals then noted that a third-party release “is a
 device that lends itself to abuse” because it in effect operates as a bankruptcy discharge without
 requiring a bankruptcy filing and the oversight and safeguards of the Bankruptcy Code.91

      In an attempt to provide more guidance regarding the type of “rare” cases in which a
 third-party non-debtor release may be appropriate, the court of appeals noted that in earlier
 cases such releases had been approved when: (1) the estate received substantial
 consideration;92 (2) the enjoined claims were “channeled” to a settlement fund rather than
 87   Id.
 88   Id.
 89   Id.
 90   Id. at 142.
 91   Id.
 92   Id. (citing SEC v. Drexel Burnham Lambert Grp. (In re Drexel Burnham Lambert Grp.), 960 F.2d 285, 293
      (2d Cir. 1992)). Since Metromedia Fiber Network, other courts have cited to substantial contributions to be
      made by released parties in support of a finding that unique circumstances exist to justify third-party releases.
      See, e.g., In re Adelphia Commc’ns Corp., 368 B.R. 140, 268 (Bankr. S.D.N.Y. 2007) (third-party release in
      favor of parties who had provided substantial consideration to the reorganization was allowed); JPMorgan
      Chase Bank, N.A. v. Charter Commc’ns Operating LLC (In re Charter Commc’ns), 419 B.R. 221, 258 (Bankr.
      S.D.N.Y. 2009) (noting that third-party releases were permissible where among other things debtors were to
      receive substantial financial and non-financial consideration and there was an identity of interest between the
      debtors and the non-debtor releasees by indemnification agreements); In re Metropolitan 885 Third Ave.
      Leasehold, LLC, No. 10-16106, 2010 WL 6982778 (Bankr. S.D.N.Y Dec. 22, 2010), ¶ 32 (finding that (1) the
      case was “unique” and that “unusual circumstances” existed that made the third-party releases essential to the
      plan; (2) that the released parties had tendered substantial consideration to the debtor by reducing claims and
      waiving distributions (which allowed all other unsecured creditors to receive a 100% distribution on allowed
      claims) and making other substantial contributions to accommodate the debtor’s business objectives; and (3)
      that there were no pending claims or causes of action against the released parties).

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 extinguished;93 (3) the enjoined claims would indirectly impact the debtor’s reorganization
 “by way of indemnity or contribution;”94 (4) the plan otherwise provided for the full payment
 of the enjoined claims;95 or (5) the affected creditors consented to the non-debtor releases.96
 However, the court of appeals immediately noted that a determination of whether a third-party
 release is appropriate should not be considered a matter of “factors and prongs,” and it
 stressed that no case has permitted third-party releases absent “unique” circumstances.97

      Turning to the appeal before it, the Second Circuit stated that the only justification for the
 Kluge Comprehensive Release was the fact that the Kluge trust had made a “material
 contribution” to the estate. The Second Circuit found this insufficient, stating that “a non-
 debtor release in a plan of reorganization should not be approved absent the finding that truly
 unusual circumstances render the release terms important to the success of the plan, focusing
 on the considerations [noted above.]”98 After the Metromedia decision, courts continued to
 approve third-party releases, but stressed the “unique circumstances” that justified them.99




 93   In re Metromedia Fiber Network, Inc., 416 F.3d at 142 (citing MacArthur Co. v. Johns-Manville Corp. (In re
      Johns-Manville Corp.) (Manville I), 837 F.2d 89, 93–94 (2d Cir. 1988); Menard-Sanford v. Mabey (In re A.H.
      Robins Co.), 880 F.2d 694, 701 (4th Cir. 1989)).
 94   In re Metromedia Fiber Network, Inc., 416 F.3d at 142 (citing Manville I, 837 F.2d at 93–94; In re A.H.
      Robins Co., 880 F.2d at 701).
 95   Id.
 96   Id.; see also In re Ion Media Networks, Inc., 419 B.R. 585, 602 (Bankr. S.D.N.Y. 2009) (finding that the
      releases were appropriate under Metromedia Fiber Network, and noting, among other things, that the third-
      party releases had been consented to by a vast majority of the affected creditors).
 97   In re Metromedia Fiber Network, Inc., 416 F.3d at 142.
 98   Id. at 143. While insufficient findings would normally be remedied by remand, the court of appeals dismissed
      the appeal as equitably moot because the chapter 11 plan had been substantially consummated. Id. at 143–44.
 99   Cartalemi v. Karta Corp. (In re Karta Corp.), 342 B.R. 45, 56 (S.D.N.Y. 2006) (based on unique
      circumstances, court found that the releases “are exactly the sort of releases that should be sanctioned under
      Metromedia/Drexel”); JPMorgan Chase Bank, N.A. v. Charter Commc’ns Operating LLC (In re Charter
      Commc’ns), 419 B.R. 221, 258 (Bankr. S.D.N.Y. 2009) (after acknowledging that non-debtor releases should
      be rare, the court found that the record before it justified the non-debtor releases. The debtors were to receive
      substantial financial and non-financial consideration in exchange for such releases; there was an identity of
      interest between the debtors and non-debtors by indemnification agreements; and the case involved “truly
      unusual circumstances” to make the releases important to the plan); In re Adelphia Commc’ns Corp., 368 B.R.
      140, 267 (Bankr. S.D.N.Y. 2007) (noting that Metromedia “requires the bankruptcy community in this Circuit
      to be much more circumspect in providing third-party releases than it used to be.”); In re XO Commc’ns, Inc.,
      330 B.R. 394, 440 (Bankr. S.D.N.Y. 2005) (finding the record supported unique circumstances necessary,
      under Metromedia, for allowing non-debtor releases concerning breach of fiduciary duty type claims).

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                    (4) Manville II100—2008

      In 2008, the Second Circuit was again called upon to consider the third-party non-debtor
 releases granted in Manville I in the 1986 Insurance Settlement Order and incorporated into
 the Manville Confirmation Order (together, the “1986 Orders”). In the years that followed
 Manville’s reorganization, groups of plaintiffs, undeterred by the injunction in the two 1986
 Orders, brought “direct action” lawsuits101 against the settling insurers, asserting claims fitting
 into two broad categories: claims based on statutory regulation of insurance practices and
 claims based on common law theories.102

       In response to the large number of lawsuits filed against it, Travelers103 filed a motion in
 the bankruptcy court seeking to enjoin twenty-six independent actions pending in Louisiana,
 Massachusetts, Texas, and West Virginia state courts, pursuant to the 1986 Orders.104 The
 matter was referred to mediation, and three classes of plaintiffs settled with Travelers. The
 settlements were conditioned upon the bankruptcy court’s entry of an order clarifying that the
 state court lawsuits were, and always had been, prohibited by the 1986 Orders.105 The
 bankruptcy court approved the settlement agreements and entered the requested “Clarifying
 Order,” specifying that the direct actions were barred by the 1986 Orders. In connection with
 its ruling, the bankruptcy court found that because “the gravamen of [the state court lawsuits]
 were acts or omissions by Travelers arising from or relating to Travelers’ insurance
 relationship with Manville, . . . all claims against Travelers based on such actions or omissions
 necessarily ‘arise out of’ and [are] ‘related to’ the [insurance policies].”106

      The district court upheld the Clarifying Order on appeal, and multiple state court asbestos
 plaintiffs and Chubb Indemnity Insurance Company, none of whom were party to the more
 recent settlements agreements with Travelers, appealed to the Second Circuit. The appellants
 argued that the bankruptcy court did not have jurisdiction to enjoin the third-party suits against
 Travelers. The Second Circuit agreed, noting that the courts below had erroneously focused
 solely on the relationship between Manville and Travelers in considering whether jurisdiction
 100 Johns-Manville Corp. v. Chubb Indem. Ins. Co. (In re Johns-Manville, Corp.) (Manville II), 517 F.3d 52 (2d

    Cir. 2008).
 101 A “direct action” in the insurance context is a suit in which the injured party steps into the shoes of the

    tortfeasor and can assert any right of the tortfeasor-insured against the insurance company. Pfizer Inc. v. Law
    Offices of Peter G. Angelos (In re Quigley Co.), 676 F.3d 45, 55 n.10 (2d Cir. 2012) (internal citations
    omitted).
 102 Manville II, 517 F.3d at 57–58.

 103 The Court referred to The Travelers Indemnity Company, Travelers Casualty and Surety Company, Travelers

    Property Casualty Corp., Citigroup Inc., The Travelers Insurance Company, Travelers Life and Annuity
    Company, and each of their respective direct or indirect parents, subsidiaries, and sister companies, as well as
    each of their respective predecessors, successors, assigns, officers, and directors, together, as “Travelers.” Id.
    at 55 n.3.
 104 Id. at 58.

 105 Id.

 106 Id. at 59 (internal citation omitted).



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 over the claims existed. Asserting that this factual inquiry regarding the parties’ relationship
 “was only half of the equation,” the court of appeals looked to the laws of the states where the
 claims arose to determine if Travelers had an independent legal duty in its dealings with the
 appellants.107 The nature of the claims would determine the source of funds used to satisfy any
 judgment—the Manville Trust or Travelers.

      This more focused review on the nature of the claims being released had not been
 undertaken in the Metromedia decision, and instead appears to have been inspired by the
 Second Circuit’s review of the Fifth Circuit’s decision in the Zale bankruptcy cases.108 In
 Zale, the Fifth Circuit noted that:

                   Those cases in which courts have upheld “related to”
                   jurisdiction over third-party actions do so because the subject of
                   the third-party dispute is property of the estate, or because the
                   dispute over the asset would have an effect on the estate.
                   Conversely, courts have held that a third-party action does not
                   create “related to” jurisdiction when the asset in question is not
                   property of the estate and the dispute has no effect on the estate.
                   Shared facts between the third-party action and a debtor-creditor
                   conflict do not in and of themselves suffice to make the third-
                   party action “related to” the bankruptcy . . . . [T]he district
                   court’s desire to “foster and encourage and then preserve
                   settlement in federal court” does not in and of itself confer
                   jurisdiction.109

      Here, the appellants sought to recover directly from Travelers based on its independent
 wrongdoing.110 Accordingly, the court of appeals held that the bankruptcy court did not have
 jurisdiction to enjoin such claims because they made “no claim against an asset of the
 bankruptcy estate, nor [did] their actions affect the estate.”111 The Second Circuit went on to
 note the fact that the settling insurers had contributed funds to the estate was not relevant to its
 jurisdictional analysis. Given the inherent risk of abuse in permitting third-party releases,




 107 Id. at 63.

 108 Feld v. Zale Corp. (In re Zale Corp.), 62 F.3d 746 (5th Cir. 1995).

 109 Manville II, 517 F.3d at 64 (citing In re Zale Corp, 62 F.3d at 753–54).

 110 Manville II, 517 F.3d at 65. The court of appeals noted that in West Virginia, claims based on Travelers’

    alleged violations of West Virginia’s Unfair Trade Practices Act could entitle the plaintiff appellants to
    recover attorneys’ fees and punitive damages, if successful. The settlement of a claim against a tortfeasor in
    West Virginia also did not preclude independent recovery against the tortfeasor’s insurer out of alleged bad
    faith insurance practice. Accordingly, West Virginia plaintiffs’ claims were clearly independent tort claims.
    Id. at 63.
 111 Id. at 65.



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 such releases cannot be justified solely on the basis of the third party’s financial contribution
 to the estate.112 If that were the case, the Second Circuit observed, then:

                      a debtor could create subject matter jurisdiction over any non-
                      debtor third-party by structuring a plan in such a way that it
                      depended upon third-party contributions. As we have made
                      clear, subject matter jurisdiction cannot be conferred by consent
                      of the parties. Where a court lacks subject matter jurisdiction
                      over a dispute, the parties cannot create it by agreement even in
                      a plan of reorganization.113

      In conclusion, the court of appeals held that the district court lacked subject matter
 jurisdiction to enjoin claims against Travelers that were predicated, as a matter of state law, on
 Travelers’ own alleged misconduct and unrelated to the property of Manville’s estate.114

                      (5) Travelers v. Bailey115—2009

      Travelers sought and obtained certiorari review by the Supreme Court. After considering
 the expansive definition of insurance policy claims enjoined as against Travelers by the 1986
 Orders, the Supreme Court agreed with Travelers that the state court lawsuits filed by the
 appellees were based on the type of claims barred by the 1986 Orders.116

      After noting that the Clarifying Order properly interpreted the 1986 Orders to bar such
 claims, the question for the Supreme Court was whether the bankruptcy court, in approving
 the Clarifying Order, had subject matter jurisdiction to do so. The Supreme Court easily found
 that such jurisdiction did exist, on the principle that the court “plainly had jurisdiction to
 interpret and enforce its own prior orders.”117

      This ended the necessary inquiry as far as the Supreme Court was concerned. The
 Supreme Court stated that whether the bankruptcy court had jurisdiction to approve the
 injunction in favor of the settling insurers in 1986 was not properly before the court of appeals
 in 2008 and, therefore, not properly before the Supreme Court.118 Accordingly, the Supreme
 Court found that the court of appeals erred in reevaluating the bankruptcy court’s exercise of
 jurisdiction with respect to its 1986 Orders.119 Once those orders became final on direct

 112 Id. at 66.

 113 Id. (citing In re Combustion Eng’g, Inc. 391 F.3d 190, 228 (3d Cir. 2004)).

 114 Manville II, 517 F.3d at 66–68.

 115 Travelers Indem. Co. v. Bailey, 557 U.S. 137 (2009).

 116 Id. at 148–51.

 117 Id. at 151 (citing Local Loan Co. v. Hunt, 292 U.S. 234, 239 (1934)).

 118 Travelers v. Bailey, 557 U.S. at 148.

 119 Id. at 151.



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 review, they became res judicata to the “parties and those in privity with them, not only as to
 every matter which was offered and received to sustain or defeat the claim or demand, but as
 to any other admissible matter which might have been offered for that purpose.”120 The fact
 that the proposed challenge to those orders was one of subject matter jurisdiction did not
 change this analysis.121
      In closing, the Supreme Court made explicit that its holding was narrow and not one of
 jurisdiction, stating that it was not resolving “whether a bankruptcy court, in 1986 or today,
 could properly enjoin claims against non-debtor insurers that are not derivative of the debtor’s
 wrongdoing.”122
     The Supreme Court did not decide which parties were bound by the 1986 Orders. Chubb
 Indemnity Insurance had consistently asserted that it was not given sufficient notice of the
 1986 Orders and that due process mandated that it not be bound by those orders. The Supreme
 Court instructed the Second Circuit to consider this due process argument, as well as other
 properly preserved objections.
                    (6) Manville III123—2010
      On remand, the Second Circuit again found it necessary to delve into the circumstances
 giving rise to the Insurance Settlement Order and the Manville Confirmation Order. The issue
 was whether those 1986 Orders, and the injunction of claims against Travelers, could be
 enforced against Chubb, who had received no notice of the orders. After reviewing “bedrock
 concepts of due process of law,”124 the court of appeals held that Chubb was not adequately
 represented in the bankruptcy proceedings and did not receive constitutionally sufficient
 notice of the 1986 Orders.125 Accordingly, Chubb was not bound by the 1986 Orders or the
 2004 Clarifying Order, and was free to challenge the bankruptcy court’s subject matter
 jurisdiction in issuing the 1986 Orders.
 120 Id. at 152 (internal citations omitted).

 121 Id. (“[e]ven subject-matter jurisdiction . . . may not be attacked collaterally.”) (citing Kontrick v. Ryan, 540

    U.S. 443, 455 n.9 (2004)).
 122 Travelers v. Bailey, 557 U.S. at 155.

 123 Johns-Manville Corp. v. Chubb Indem. Ins. Co. (In re Johns-Manville Corp.) (Manville III), 600 F.3d 135,

    138 (2d Cir. 2010).
 124 Id.

 125 Id. at 158. In its analysis of Chubb’s due process argument, the Second Circuit focused on the in personam

    nature of the 1986 Orders, as interpreted by the bankruptcy court. As stated by the court of appeals, a court is
    exercising in personam jurisdiction when it addresses a claim for liability against a particular party. Id. at 153
    n.13 (citing Restatement (Second) of Judgments § 2 cmt. B, at 36–37). The contribution and indemnity claims
    asserted by Chubb against Travelers did not seek to collect from the Manville Trust funds. Accordingly, in
    approving the Clarifying Order to bar Chubb’s claims against Travelers, the bankruptcy court was interpreting
    the 1986 Orders, whatever their language, to bar claims having no effect on the res of the Manville estate,
    giving them an in personam effect. Manville III, 600 F.3d at 152–53. The in personam nature of the 1986
    Orders required a more rigorous due process analysis and, after considering the lack of notice given in 1986 to
    Chubb, the Second Circuit held that Chubb had not received constitutionally sufficient notice of the 1986
    Orders, as interpreted by the Clarifying Order. Id. at 158.

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      While the court of appeals could have limited its analysis to this due process issue on
 remand, it went on to reiterate its analysis in Manville II, noting that a bankruptcy court only
 has jurisdiction to enjoin third-party non-debtor claims that directly affect the res of the
 estate.126 Accordingly, it “remain[ed] persuaded” on remand that the 1986 Orders, as
 interpreted in 2004, exceeded the scope of the bankruptcy court’s in rem jurisdiction127 and
 found that Chubb’s jurisdictional attack had merit.128

               c. The Second Circuit Landscape After Manville III

      Manville II, as reaffirmed by Manville III, remains the law of the Second Circuit. Since
 its entry, courts called upon to judge the propriety of third-party non-debtor releases must
 consider first whether the court has subject matter “related to” jurisdiction over the claims to
 be enjoined.129 If the court determines that the claims to be released or enjoined directly affect
 the estate, it may then consider whether unique circumstances that would justify the release
 are present.130 Parties cannot contract around this initial jurisdictional hurdle.131




 126 Id.at 152. (citing In re Combustion Eng’g, Inc., 391 F.3d 190, 225 (3d Cir. 2004) (“[T]he exercise of
    bankruptcy power must be grounded in statutory bankruptcy jurisdiction.”); Universal Oil Ltd v. Allfirst Bank
    (In re Millennium Seacarriers, Inc.), 419 F.3d 83, 92 (2d Cir. 2005) (“Congress has granted the . . . courts
    expansive bankruptcy jurisdiction to adjudicate claims against a debtor’s estate.”).
 127 Manville III, 600 F.3d at 153.

 128 Id. at 158. The Second Circuit’s reiteration of its jurisdiction analysis of third-party releases may have been a

    response to some uncertainty voiced by lower courts after the Supreme Court’s ruling in Travelers v. Bailey.
    See In re Metcalfe & Mansfield Alt. Invs., 421 B.R. 685, 695 (Bankr. S.D.N.Y. 2010) (decided two months
    before Manville III, the bankruptcy court stated that after the Supreme Court’s reversal of Manville II, “[i]t is
    unclear whether the circuit panel’s decision [in Manville II] remains binding law in this Circuit on other issues
    decided by the panel—specifically on the jurisdictional limits on a bankruptcy courts’ power to approve a
    third-party non-debtor release and injunction. Even if the circuit panel decision is not binding, it may
    nevertheless be persuasive with respect to the jurisdictional issue.”).
 129 See, e.g., In re FairPoint Commc’ns, Inc., 452 B.R. 21 (Bankr. S.D.N.Y. 2011) (third-party non-debtor claims

    that would, if successful, trigger a debtor’s duty to indemnify or make a contribution to that third-party
    sufficiently affect the bankruptcy estate such that bankruptcy jurisdiction exists); In re Dreier LLP, 429 B.R.
    112 (Bankr. S.D.N.Y. 2010) (requested injunction was too broad and barred claims outside court’s
    jurisdiction); but see In re Metropolitan 885 Third Ave. Leasehold, LLC, No. 10-16103, 2010 WL 6982778
    (Bankr. S.D.N.Y Dec. 22, 2010) (not discussing whether court had subject matter jurisdiction over claims).
 130 See In re Dreier LLP, 429 B.R. at 131–32 (reviewing the history of third-party releases in the Second Circuit).

 131 It is black letter law that parties cannot consent or stipulate to jurisdiction where it does not exist. Ins. Corp. of

    Ir., Ltd. v. Compagnie des Bauxites de Guinee, 456 U.S. 694, 702 (1982) (“[N]o action of the parties can
    confer subject-matter jurisdiction upon a federal court.”); Geruschat v. Ernst Young LLP (In re Seven Fields
    Dev. Corp.), 505 F.3d 237, 262 n.23 (3d Cir. 2007).

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     2. Analysis Of Possible Release Of Third-Party Claims Against AFI
              a. Jurisdictional Issues Faced By Parties In Releasing Third-Party Claims

      The tenet that a bankruptcy court has jurisdiction to release only those third-party claims
 that directly affect the res of the bankruptcy estate is not disputed.132 What is disputed in this
 case, however, is the identity of those Third-Party Claims that fall within the scope of the
 Bankruptcy Court’s jurisdiction and that may therefore be released as part of any future
 chapter 11 plan.133

       The Examiner finds it premature to undertake an evaluation of whether the Bankruptcy
 Court has subject matter jurisdiction to release each and every potential cause of action that
 may be asserted against the AFI Released Parties. There is currently no proposed settlement of
 Third-Party Claims before the Bankruptcy Court, and the scope of any third-party release that
 may be proposed may differ from that included in the now-terminated AFI Settlement and
 Plan Sponsor Agreement. Based on a review of recent cases addressing third-party releases,
 the Examiner notes that the broader the scope of the release, the more likely the court will find
 that it does not have jurisdiction over all claims proposed to be released.134




 132 See AFI Submission Paper, dated Dec. 19, 2012, at 82–83 (citing Johns-Manville Corp. v. Chubb Indem. Ins.

   Co. (In re Johns-Manville, Corp.) (Manville II), 517 F.3d 52, 66 (2d Cir. 2008)); Debtors’ Submission Paper,
   dated Dec. 18, 2012, at 6 (citing same); Joint Submission Paper of Paper of AIG, Allstate, Mass Mutual and
   Prudential, dated Oct. 17, 2012, at 26–27 (citing same); Joint Submission Paper of the Federal Home Loan
   Banks of Boston, Chicago and Indianapolis, dated Oct. 19, 2012, at 30 (citing same).
 133 See Debtors’ Submission Paper, dated Dec. 18, 2012, at 8–24; AFI Submission Paper, dated Dec. 19, 2012, at

   82–91; Joint Submission Paper of AIG, Allstate, Mass Mutual and Prudential, dated Feb. 12, 2013, at 26–27;
   Joint Submission Paper of Paper of AIG, Allstate, Mass Mutual and Prudential, dated Oct. 17, 2012, at 27–28;
   Joint Submission Paper of the Federal Home Loan Banks of Boston, Chicago and Indianapolis, dated Oct. 19,
   2012, at 30–32; Federal Housing Finance Agency Letter to Examiner, dated Oct. 12, 2012.
 134 In re Dreier LLP, 429 B.R. at 133 (holding that the proposed bar order went “well beyond derivative claims,

   and ultimately exceed[ed] the Court’s subject matter jurisdiction” because creditors and parties could have
   direct claims against the parties to be released that were unrelated to their status as creditor or parties in
   interest in the bankruptcy cases); In re FairPoint Commc’ns, Inc., 452 B.R. 21, 29 (Bankr. S.D.N.Y. 2011)
   (holding that bankruptcy court had subject matter jurisdiction to enter an injunction “which is carefully crafted
   so that it is limited to actions that create contingent obligations against the estate”).

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      Some plan proponents, in including a third-party release in a proposed chapter 11 plan,
 have limited the scope of the third-party release so that, by its own terms, the release only
 operates “to the maximum extent permitted by applicable law.”135 If the parties were to reach
 agreement on a settlement that provided for a third-party release in favor of the AFI Released
 Parties, this type of scope limitation may permit the Bankruptcy Court to confirm a chapter 11
 plan without ruling on whether it has jurisdiction over each and every claim proposed to be
 released.

              b. After Determining The Scope Of Its Jurisdiction, The Court Must Consider
                 Whether Circumstances Merit Approval Of A Third-Party Release

      Assuming the Bankruptcy Court determines that it has subject matter jurisdiction to
 approve a release of Third-Party Claims as part of a proposed future plan settlement, it would
 then have to consider whether unique circumstances that justify the release exist.136 As
 discussed above, in the seminal case reviewing what circumstances justify the approval of a
 third-party release—Metromedia Fiber Network—the Second Circuit asserted that “such a
 release is proper only in rare cases.”137 The Debtors and AFI both asserted that sufficiently
 unique circumstances existed to justify the granting of a third-party release in favor of the AFI
 Released Parties, based in large part on AFI’s proposed cash and non-cash contributions to the
 Chapter 11 Cases.138

 135 See Confirmation Order, ¶¶ 26, 27, In re Metro-Goldwyn-Mayer Studios, Inc., No. 10-15774 (Bankr. S.D.N.Y.

    Dec. 6, 2010), ECF No. 173 (confirming Amended Joint Prepackaged Plan of Reorganization at § 9.3, filed
    Nov. 23, 2010, ECF No. 142); Confirmation Order, ¶¶ FF, 30,31, In re RHI Entm’t, Inc., No. 10-16536
    (Bankr. S.D.N.Y. Mar. 29, 2011), ECF No. 323 (confirming Final Cumulative Joint Prepackaged Plan of
    Reorganization at § 11.8, filed Apr. 1, 2011, ECF No. 329). See also In re Chemtura, 439 B.R. 561, 610
    (Bankr. S.D.N.Y. 2010) (holding that fact that proposed third-party releases included in plan were
    impermissible under Metromedia Fiber Network did not make plan unconfirmable because of “self-
    correction” features that the releases be limited to “the extent permitted by applicable law;” instead, court held
    the releases to be unenforceable); Rosenberg v. XO Commc’ns, Inc. (In re XO Commc’ns, Inc.), 330 B.R. 394,
    412 n.13 (Bankr. S.D.N.Y. 2005) (third-party release in confirmed plan was limited in scope, releasing non-
    consensual third-party claims “to the fullest extent permissible under applicable law, as such law may be
    extended or interpreted subsequent to the Effective Date”).
 136 See In re Dreier LLP, 429 B.R. at 131–32 (reviewing the history of third-party releases in the Second Circuit).

 137 In re Metromedia Fiber Network, Inc., 416 F.3d 136, 141 (2d Cir. 2005).

 138 The Debtors and AFI also asserted that the Third-Party Release was justified because the enjoined claims

    would indirectly impact the Debtors’ reorganization through indemnity or contribution. See Debtors’ Omnibus
    Response to Third-Party Submissions, dated Dec. 18, 2012, at 37–41; AFI Submission Paper, dated Dec. 19,
    2012, at 99. Courts note that an “identity of interest” exists between the parties when the enjoined claims
    would affect the estate, through indemnification or otherwise. See JPMorgan Chase Bank, N.A. v. Charter
    Commc’ns Operating LLC (In re Charter Commc’ns), 419 B.R. 221, 258 (Bankr. S.D.N.Y. 2009) (noting
    identity of interest between debtors and non-debtor releases by indemnification agreements); In re XO
    Commc’ns, Inc., 330 B.R. at 411 (identity of interest is generally established as a result of indemnification/
    contribution exposure of the debtor). Whether this “identity of interest” factor supports a third-party release
    requires an in-depth analysis of each claim to be released and its potential effect on the estate. That analysis is
    similar to the required jurisdictional analysis discussed above. Because the proposed settlement is no longer
    before the Bankruptcy Court, the Examiner has not undertaken any such analysis.

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       The Examiner has concluded above that it is unlikely that a court would have approved a
 settlement of the Debtors’ claims against AFI in exchange for the contributions by AFI
 contemplated by the now-terminated AFI Settlement and Plan Sponsor Agreement. It follows
 that the consideration proposed by the AFI Settlement and Plan Sponsor Agreement would
 have been deemed insufficient to justify a non-consensual release of Third-Party Claims
 against the AFI Released Parties. The Examiner therefore concludes that a court would have
 found that AFI’s contributions to the Debtors, as contemplated by the now-terminated
 Settlement and Plan Sponsor Agreement, did not support the proposition that the AFI
 Released Parties would have been entitled to a Third-Party Release.




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